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                           UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                     PENDLETON DIVISION

OREGON FIREARMS FEDERATION, INC.,                Civil No. 2:22-cv-01815-IM (Lead Case)
et al.,                                          Civil No. 3:22-cv-01859-IM (Trailing Case)
                                                 Civil No. 3:22-cv-01862-IM (Trailing Case)
                               Plaintiffs,
                                                 Civil No. 3:22-cv-01869-IM (Trailing Case)
      v.
KATE BROWN, et al.,                              CONSOLIDATED CASES

                               Defendants.
MARK FITZ, et al.,                               DECLARATION OF ASHLEY
                                                 HLEBINSKY
                               Plaintiffs,
      v.
ELLEN F. ROSENBLUM, et al.,

                               Defendants.
KATERINA B. EYRE, et al.,
                               Plaintiffs,
      v.
ELLEN F. ROSENBLUM, et al.,
                               Defendants.
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DANIEL AZZOPARDI, et al.,
                        Plaintiffs,
      v.
ELLEN F. ROSENBLUM, et al.,
                        Defendants.
                         Case 2:22-cv-01815-IM
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                                     IN THE UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON

                                                  PORTLAND DIVISION


           OREGON FIREARMS FEDERATION,                              Civil No. 2:22-cv-01815-IM
           INC., an Oregon public benefit corporation;
           BRAD LOHREY, Sherman County Sheriff;
           ADAM JOHNSON, CODY BOWEN,                                DECLARATION OF ASHLEY
           Union County Sheriff; BRIAN WOLFE,                       HLEBINSKY
           Malheur County Sheriff; HAROLD
           RICHARD HADEN, JR.,

                                            Plaintiffs,
                    V.


           GOVERNOR KATE BROWN, Governor
           of Oregon, and ATTORNEY GENERAL
           ELLEN ROSENBLUM, Attorney General
           of Oregon, and TERRI DAVIE,
            Superintendent of the Oregon State Police,

                                            Defendants.

                    I, Ashley Hlebinsky, declare as follows:

                    1.      I am a firearms historian and public educator, specializing in material culture



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           studies, as well as a firearms and ammunition-related museum consultant, expert witness,

           freelance writer, and guest lecturer. Previously, I served as the Robert W. Woodruff Curator-

           in-Charge of the Cody Firearms Museum (henceforth to be known as the CFM), where I

           curated and managed a collection of around 7,000 firearms from the 1200s through modern

           day, with over 20,000 related aiiifacts, including ammunition, edged weapons, and

           accoutrements. I also served as the Project Director on the museum's full-scale multimillion

           dollar renovation, responsible for every aspect including but not limited to research, content,

           exhibition, and installation, which reopened in 2019. This summer (2022), I co-founded the

           University of Wyoming College of Law' s Firearms Research Center with Second

           Amendment Scholar and University of Wyoming Law Professor, George Mocsary.

                   2.      I have been retained by the Plaintiffs in this matter to provide historical

           testimony on firearms technology, with an emphasis on the history of technology in relation

           to repeaters and magazine-fed repeaters, some with capacities greater than ten rounds. I will

           also provide a brieflook into the laws that existed at the time of the United States ' Founding

           and Second Founding Eras to provide reference for any possible analogous comparisons to

           modern magazine restrictions as defined in the New York State Rifle and Pistol Association,

           Inc. v. Bruen (henceforth to be referred to as Bruen) ruling by the Supreme Court. This

           report was prepared for the Oregon Firearms Federation, Inc. et al v. Brown et al, Case No.

           22-CV-01815-IM and Ey re et al v. Rosenblum et al, Case No. 22-cv-01862-IM. I have been

           retained to write a declaration at the rate of $450/hour.

           Background and Qualifications

                   3.      I have spent the last fifteen years immersed in the study of firearms history,

           technology, and culture. I earned both bachelor's and master's degrees in American History



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            from the University of Delaware, during which I studied firearms history and culture and

            instructed undergraduate students about military weaponry throughout history. Much of my

            work since then focuses heavily on material culture surro~nding the macro-history of

            firearms and how their developments have affected industry, culture, and society for

            centuries. I have been fortunate to work in some of the largest collections in the United

            States, beginning my career as a researcher and fellow in the Smithsonian Institution's

            National Firearms Collection housed in the National Museum of American History.

                     4.      Additionally, I spent a decade working with and running the only accredited

            firearms museum in the United States, the CFM, a part of the Buffalo Bill Center of the

            West, which receives approximately 200,000 visitors annually. Of the 200,000 people, it is

            estimated, based on initial survey data for the renovation, that only 50% of those people

            admit to having a background or specified interest in firearms. During my tenure, I also

            served as Project Director of the museum's full-scale multimillion-dollar renovation. With

            the aid of my team, I was responsible for all facets of the renovation including but not limited

            to concept, content, fundraising, and collections management. Final content for the museum

            was reviewed internally and by an external panel of experts, including academic historians,

            museum professionals, teachers, public educators, gun collectors, and people unfamiliar with

            firearms, as well as people with a range of different political views on guns. The resulting

            museum, which reopened July 2019, provides a more interpretive space to facilitate

            productive dialogue on firearms and their roles in history. Throughout this museum,

            terminology and definitions play a significant role in educating both visitors not familiar with

            firearms and those who consider themselves aficionados. Because roughly half of the

            museum 's audience is not familiar with firearms , we dedicated an entire gallery at the front



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            of the museum to understanding the basics of firearms past and present, their features,

            ammunition, and safety. Since its opening, the museum has received favorable reviews from

            the Wall Street Jownal and National Public Radio for its accessibility to diverse audiences

            and thoughtful handling of what can be a sensitive topic. It has also been praised for its

            efforts to educate on and impact firearms safety. 1

                     5.      During my time at the CFM and through my consulting business, I have

            become nationally known and sought after to provide a material culture perspective on

            firearms history that is often lacking in much of modem, academic, and legislative

            discussions on firearms . I guide museums as well other non- and for-profit organizations and

            government entities on the interpretation and understanding of that history. I have recently

            prepared declarations regarding the history of magazines and repeaters for Ocean State

            Tactical et al v Rhode Island, Virginia Duncan v Banta and State of Washington v Federal

            Way Discount Guns et al. In May 2021, I testified in front of the Senate Judiciary

            Subcommittee on the Constitution's Hearing regarding "Ghost Guns," for which I researched

            and discussed the long history of privately made firearms and evolution of arms technology

            from the colonies through the 1960s. Because I have worked in several national collections

            that have upwards of 10,000 firearms each - collections that range from the earliest through

            most recent technology - I have developed a broad understanding of how firearms have

            evolved. Additionally, I have had the rare opportunity to work with, see, study and handle



            1 1
                Rothstein,Edward. "Handled With Care" Th e Wall Street Journal. September 27, 2019
            <https: //www.wsj.com/articles/handled-with-care-l 1569601047> Accessed December 15, 2022. Kudelska, Kamila.
            "Firearms Museum Focuses on Gun Safety, History and Culture." NPR . August 25, 2019
            <https ://www. npr.org/2019 /08/25/7 53448348/fi rearms-museum-focuses-on-gun-safety-history-and-culture>
            Accessed December 15, 2022.




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          many of the firearms referenced in this declaration.

                  6.     In addition to my historical scholarship, I also have played a role in public

          education around firearms. I have been responsible for the education of tens of thousands of

          students from elementary through college levels, teaching not only firearms safety and

          basics, but the historical and technical evolution of the firearm. In 2017, I developed the first

          full-scale symposium in the United States dedicated to the study of firearms as material

          culture, which reoccurs annually. These symposia were organized to bring together firearms

          scholars from around the world to discuss their collections but also to create metrics to

          analyze the quality of scholarship that already has been done in the field. The study of

          firearms is a complicated one, especially since much of the information about the objects

          themselves have traditionally been conducted by well-known firearms researchers and

          collectors. However, not all those people fall under traditional definitions of academic

          scholarship. On the other side, because of limitations in the study of fuearms, academic

          research often has flaws in terms of a general understanding of the firearms themselves. We

          have worked to lessen that gap to create more balanced scholarship. To continue that

          mission, I sit on the Editorial Board for the recently revived, peer-reviewed arms journal,

          Armax, and I recently co-founded the University of Wyoming College of Law's Firearms

          Research Center in 2022. Despite its location in the College of Law, this new center intends

          to encourage research of all types related to arms and ammunition.

                 7.      Currently as a museum consultant, I am in the process of building several

          museums with heavy emphasis on firearms collections. I also conduct workshops on

          firearms, survey collections, and curate exhibitions at institutions such as the Houston

          Museum of Natural Science, CM Russell Museum & Complex, and the Mob Museum. I have



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          served as a scholar and a panelist for the National Park Service and the Organization of

          American Historians on a forthcoming Coltsville National Historic Site. I am also an expert

          witness, freelance writer, guest lecturer, on-camera firearms historian, and television

          producer. A current copy of my Curriculum Vitae summarizing my education and experience

          is attached at the end of this document as Exhibit Hlebinsky-1 .

          Prior Expert Witness Testimony

                 State of Washington v Federal Way Discount Guns et al, December 2022
                 Virginia Duncan et al v Bonta, November 2022
                 Ocean State Tactical et al v Rhode Island, October 2022
                 Senate Judiciary Subcommittee on the Constitution, Stop Gun Violence: Ghost Guns,
                 May 2021
                 Franklin Armory et al v Rob Bonta, February 2021
                 FN Herstal v Stun-n, Ruger & Co, January 2021
                 Sturm, Ruger & Co. v American Outdoor Brands Corp., October 2020
                 Guedes v BATFE, June 2019
                 Miller v Becerra (Bonta), November 2019
                               Evidentiary Hearing Testimony October 2020
                               Deposition January 2021
                 Regina (Nova Scotia) v Clayton, January 2019
                 Garrison v Sturm, Ruger & Company, Inc. 2018
                               Deposition November 2018

          Scope of Work

                 8.      This modified version of the report was prepared for several aforementioned

          cases. Firstly, the report will provide a brief statement on the long history of the

          interconnectivity between military and civilian arms. It will address how the advancement of

          technology often was driven by the civilian market; the multi-purpose use of early arms for

          civilians and the military; the private acquisition of firearms to be used on the battlefield; and

          the postwar weapons surpluses that have flooded and continue to flood the civilian market.




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           Secondly, it will provide a history of repeaters and/or magazine-fed repeaters, including

           firearms with capacities over ten rounds, as well as an overview of some relevant laws during

           the times in which they were invented and/or used. The second section will be loosely

           organized into two subsections: the Founding and the Second Founding Eras, with related

          contextual histories, in chronological order, which also happens to be the order of relevancy

          to constitutional law as defined in Bruen.

                   9.       According to Heller v District of Columbia and reiterated in Bruen "not all

       , history is created equal... Constitutional rights are enshrined with the scope they were

          understood to have when the p eople adopted them." 2 Under Bruen, the most relevant time

          frame in consideration regarding the constitutionality of modem regulations is the Founding

          Era - when the Second Amendment was ratified. Bruen does acknowledge that the period

          surrounding the creation of the Fourteenth Amendment, known as the Second Founding Era,

          can be useful, although, as with the Bruen case, it is not necessarily relevant when discussing

          the historical pedigree of regulation.3 Subsequent time frames can provide insight, albeit far

          less significant if relevant at all, including the timeframe leading up to the ratification of the

           Second Amendment, the time in between the Second and Fourteenth Amendments, and least

          significant, the twentieth century. 4


          2
            The following two paragraphs are summarized from an analysis ofrelevant hist01y and historical analogues found
          in Johnson, Nicholas, Kopel, David B., Mocsary, George A, Wallace, E Gregory, & Donald Kilmer. Firearms Law
          and the Second Amendment Regulation, Rights and Policy (3 rd ed. 2021 ) 2022 Supplement (August 2022), pg. 86 -
          88
          3
            Ibid pg. 86
          4
            Ibid pg. 86 According to Johnson et al : some time periods can be used to provide the context of what was available
          leadi ng up to the form ation of the Second Amendment as well. For exampl e, those periods can possibly provide
          context for the mindset of the Founding Fathers when the Second Amendment was ratifi ed. Additionally, the period
          directly after can provide insight "to determine the p ublic understanding of a legal text in the period after its
          enactment or ratification." The late nineteenth centu1y hi sto1y is helpful in instances when it affirm s what has been




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                   10.      Important though to consider is "[guarding] against giving post enactment

          history more weight than it can rightly bear." 5 Bruen does provide further guidelines for

          when each era in history can inform the understanding of the Second Amendment. It also

          provides guidance for how to determine a historical analogue. While the law does not have to

          be a twin of a past law, there is some guidance to consider as "courts should not 'uphold

          every modem law that remotely resembles a historical analogue." 6

                   11.      For this report, please note that I will make a distinction between repeater and

          magazine-fed repeater. A magazine is a vital part of the firearm; it is a container, detachable

          or fixed, that holds ammunition while it feeds into a repeating firearm. In the periods being

          discussed, there are repeating firearms that do not use magazines, such as revolvers, which

          use a rotating cylinder that is as important and integral as a magazine is in order to fire a gun.

          When I am discussing a repeater that has a magazine, I will qualify it as such. Additionally, I

          will use capacity to refer specifically to the number of rounds of ammunition that can be held

          within a firearm. When I am discussing magazine capacity, I will qualify it as such.

          General Statement of the Interconnectivity of Sport and War

                   12.      The expression weapon of war is used a lot in modem and historical

          discussions surrounding firearms. Today, it is used as an umbrella term to describe a range of

          different firearms that people perceive as being useful to warfare, regardless of whether they



          established by earlier history. The same can be said about twentieth century history, although significantly less
          relevant than the other periods. These times do not necessarily provide insight if it contradicts earlier evidence
          5
            Johnson et al, pg. 86
          6
            Ibid. , pg. 88 According to the authors: "the analogue must be "relevantly similar." One measure of these laws to
          consider according to Heller and McDonald v. Chicago (2012) is through "at least two metrics: how and why the
          regulations burden a law-abiding citizen's right to a.tmed defense." The how is defined as "whether modern and
          historical regulations impose comparable burden on the right of a.tmed self-defense." The why is defined as
          "whether that burden is comparably justified."



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           were actually used on or designed for the battlefield. How the expression is used today

           implies a distinct line between firearms made for the military and firearms made for the

           civilian market. However, that line for seven hundred years has always been blurred.

                      13.     Once firearms were developed, technology often advanced too quickly for

           common battlefield use, finding popularity in the civilian market. Military firearms in a

           general sense were limited by tactics, government bureaucracy, and expense, while civilian

           arms until recently were predominantly limited by individual budget. Additionally, civilian

           arms can be employed for far greater number of uses, including hunting, self-defense, and

           target shooting. The earliest firearms technology appeared on the battlefield by the thirteenth

           century. The hand cannon, or handgun, was little more than the name suggests, a cannon for

           your hands. The user utilized a touchhole and external fire source to ignite powder and fire

           the gun. This primitive technology may not have been designed for a sporting purpose, but

           once it was designed, inventors pushed the boundaries, capabilities, and usages of firearms

           into the future. And while the hand cannon specifically may not have been used for sport,

           other military weapons of the time such as longbows and crossbows were popularly used for

           target shooting competitions in fairs during the Middle Ages.

                      14.     The first true ignition system, the matchlock, was developed around 1400.

           This firearm, which utilized a burning match cord, was a popular military arm used for

           centuries around the world. By the end of the 1400s, however, matchlocks and subsequent

           ignition systems also began appearing in early target shooting competitions.7 Another

           example of a firearm being adopted for civilian use dates a century after the matchlock. In



           7
               Matchlocks and wheel-locks can be seen depicted in period imagery and in medals for shooting competitions




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            the first decade of the 1500s, a highly advanced handgun was developed, the wheel-lock.

            This gun, developed for use on horseback, was operated by the turning of a spring-loaded

            wheel. While it saw some battlefield use, it was expensive and difficult to repair. As a result,

            it was used for specialized purpose on the battlefield in Europe, but not as much in the

            colonies. However, the technology was considered so advanced, some European countries

            made and used wheel-locks for sport into the 1800s. Another example of superior technology

            being used by civilians rather than military is rifling. Rifling, the boring out of the inside of a

            barrel with spiral lands and grooves to spin a projectile, thus making it more accurate, was

            developed at the tum of the sixteenth century and appeared predominantly in civilian arms,

            with a few military exceptions from the American Revolution, until just before the tum of the

            twentieth century when military tactics finally caught up to the technology. 8

                    15.     Before the ability to mass manufacture firearms, guns often were privately

            made by gunsmiths. Although two armories did exist in the United States around the time of

            the Founding Era, many guns for the battlefield were made or assembled by individuals or

            received via foreign aid. 9 It is estimated that 2,500-3,000 gunsmiths worked in the colonies

            alone. 10 They, as private citizens, were responsible for making guns for both the military and

            civilians. While the standard infantry arm during the American Revolution was a smoothbore

            (no rifling) musket, there were some regiments during the War that used a common civilian



            8
             Examples of rifled matchlocks do exist. Rifled wheel-locks are far more common as they were so often used for
           hunting. This timeline provides a decent overview of early technological developments: Gun Timeline. PBS History
           Detectives. <https://www.pbs.org/opb/historydetectives/technique/gun-timeline/index.html> Accessed 10/22/2022
           9
             Springfield Armory was the first armory that began production in 1794
           <https://www.nps.gov/spar/learn/historyculture/index.htm> Accessed I 0/25/2022. The second armory was Harpers
           Ferry Armory and Arsenal, which began construction in 1799
           <https://www.nps.gov/hafe/learn/historyculture/harpers-ferry-armory-and-arsenal.htm> Accessed 10/25/2022
           IO Moller, George D. American Milita,y Shoulder Arms: Volume 1. University of New Mexico Press, 2011. P. l 07




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           firearm at the time, the American long rifle. The long rifle was a modified design from the

           Geiman Jaeger (Hunting) Rifle that tended to have a longer barrel and a smaller caliber than

           its German counterpart. The rifle was the superior firearm in terms of accuracy compared to

           the inaccurate smoothbore musket. However, because of the type of projectile employed at

           the time - a round musket ball - the process to load was slower for rifles because the ball had

           to fit snuggly within the lands and grooves of the rifling. There was a trade off in terms of

           effectiveness for specific purposes. 11 The long rifle in the colonies served as a multi-purpose

           tool. It was capable of being used for hunting, self-defense, and target shooting. Important to

           note though that unless being made for large-scale military adoption, such as the smoothbore

           musket, and/or produced with the use of parts kits ordered from overseas, many civilian arms

           were made at the behest of individuals or in small runs.

                    16.      Target shooting was a part of American culture before the formation of the

           United States with colonists taking part in competitions known as "Rifle Frolics." 12 This

           tradition has continued throughout American history, especially after the Civil War. For

           example, the National Rifle Association was founded by Union officers in 1871, and its core

           purpose was "to promote and encourage rifle shooting on a scientific basis." What resulted




           11
              Until the development of a successful conically shaped bullet (rather than a round musket ball) by Claude Etienne
           Minie and modified by James Burton at Harpers Ferry, rifling was expensive and slow to load. For a round ball to
           effectively spin in rifling, it had to fit perfectly which slowed the loading process. However, it was perfect for target
           shooting as well as hunting and specialized military use. Since tactics by the military were still shoulder-to-shoulder
           fighting, accuracy was not of prime importance, so militaries used smoothbore (unrifled) barrels for their standard
           equipment.
           12
              This is a tradition kept alive by several historic sites including, Fort Boonesborough Living History Museum and
           Bardstown, KY 's Colonial Days <<https://fortboonesboroughlivinghisto1y.org/html/rifle_frolic.html> Accessed
           10/25/2022 <https: //www.prlog.org/ l l 271548-rifle-frolics-18th-century-market-fair-military-drills-displays-and-
           daniel-boone.html> Accessed I 0/25/2022



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           was the proliferation of international shooting competitions. 13 Another example is the

           Olympic sport of Biathlon, a sport which involves both skiing and target shooting, dating to

           1767 in Europe. It was initially created for government use in places like Norway. That

          purpose persisted for centuries, even after becoming an international sport. In the 1930s,

          Finnish troops still used skis and rifles for patrol. Until recently, the firearms used in

          Biathlon and other disciplines of the shooting spmis, often used modified versions of center-

          fire NATO cartridge firearms. 14 By the nineteenth century, progress on manufacturing

          processes allowed more firearms of more varieties to be available to the US government as

          well as civilians. Many of the repeaters of all sorts produced during this century came in

          specific models indicating sporting vs military variants. 15

                   17.     The line between military and civilian arms was certainly blurred at the

          founding of the country and thereafter, as was the role of the civilian and the soldier. In the

           colonies and in early America, certain citizens were required to serve in their militias with

          firearm and ammunition requirements and some soldiers carried their personal firearms into

          battle. By the American Civil War, it was not unheard of for soldiers to privately purchase

           firearms that the US government had not adopted or did not issue to them for use in battle.

          After the war, even issued weapons that were used in war were often sold on the civilian

          market. After the Civil War, soldiers could buy their firearms and many dealers and


           13
             The National Rifle Association of America was founded after the National Rifle Association in the United
          Kingdom (1859). <https://home.nra.org/about-the-nra/> Accessed 10/25/2022
          14
             An example of a centerfire modified fireaim can be found in the Cody Firea1ms Museum. Here is a succinct
          summary of the history of the biathlon <https://minnesotabiathlon.com/about-biathlon/the-history-of-biathlon/>
          10/25/2022
          15
             Flayderman, N01m. The Flayderman 's Guide to Antique American Firearms ... and their Values. 9tb Ed (2019).
          This book is considered the gold standard in the evaluation of antique American made firearms . It provides not only
          firearms organized by manufacturer but also by type, such as repeater, military etc. Here is just one example: pgs.
          694-695



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            distributors sold the surplus in mass in their catalogs or at stores for even lower prices.

            According to Springfield Armory National Historic Site, "many thousands [of] cheap surplus

            weapons were released into private hands through General Orders 101, providing rifles,

            pistols, carbines, and muskets that found their ways into the hands of Americans in the

            decades following the Civil War." 16 The tradition of selling military arms to civilians

            continues today with firea1ms such as the Springfield Model 1903 bolt action rifle and even

            with semi-automatics such as the Ml Garand rifle and the Model 1911 pistol. 17

                     18.     There has always been an ebb and flow of civilian and military firearms for

            centuries, some with clearer lines than others. However, the assertion that a gun, especially

            during the Founding and Second Founding Eras, could be completely understood as only for

            war in a time when there was such interchangeability, is presentist at best.

            The Founding Era

                     19.     In today's understanding of historical relevance, Bruen affirms that the most

            crucial time for consideration of the constitutionality of modern regulations falls under the

            Founding Era defined as the time around the ratification of the Second Amendment. By this

            era, repeating, including magazine-fed, firearms had been around for a long time.

            Additionally, repeaters, including those with magazines, could have capacities of over ten

            rounds at least a century before and during the ratification of the Second Amendment.

            Despite the invention of these technologies, firearms laws during this time were primarily




            16
                Springfield Armory details this information here <https://www.nps.gov/spar/leam/hist01yculture/a-springfield-
            rifle-musket.htm> Accessed 10/24/22
            17
                Today, postwar weapon surplus gu ns including several semi-automatic firea1ms such as the Ml Garand are sold
            through the Civi lian Marksmanship Unit <https: //thecmp.org/sales-and-service/1911-infotmation/>
            <https://thecmp.org/sales-and-service/services-for-the-m 1-garand/> Accessed l l /25/2022



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             focused on restricting access to enslaved, Native, and free Black peoples as well as other

            people of color.

            Repeaters

                     20.      The concept of a repeating firearm dates to the earliest technology of firearms .

            Hand cannons even came in repeating variations. 18 While some repeaters were employed or

            simply attempted on the battlefield, repeating technology would not be widely popular for

            use in war until the late nineteenth century. That did not mean however that innovation in

            repeating technology was stymied. In fact, it was quite the opposite. Without the confines of

            wartime tactics and budget, many repeating firearms were commissioned by civilians who

            utilized them. The simplest method of producing arms capable of firing more than one round

            at a time initially was to fit a firearm with more than one banel. However, due to weight

            limitations, gunmakers began experimenting with other means of producing repeating arms

            during the sixteenth century. One of the first methods attempted involved superimposed

            loads, which were successive charges of powder and ball on top of each other that were

            separated by wadding or the projectile itself in one banel. They were fitted with locks that

            either had multiple cocks and pans or a single lock that could slide upon a rail. One such

            example was a sixteen-shot firearm made in 1580. 19

                     21.      By the 1630s, a Dutch gun making family, Kalthoff, began experimenting with

            a design that allowed up to fifteen shots to be fired in rapid succession. It utilized a tubular




             18
             An example can be found in the Cody Fireaims Museum Collection
             19
             This firea1m was on display at the National Firearms Museum' s location in Missouri. Winant, Lewis. "A 16-Shot
            Wheel Lock," America's ) SI Freedom (2014).



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           magazine located in a pistol's butt or a fowling piece's stock to hold powder and balls. 20

           This system was so innovative it was reproduced and modified for over 150 years. Also, by

          the mid-seventeenth century in Italy, magazine-fed repeaters were being developed.

          According to the Royal Armouries (Leeds), the earliest example can be found at the Musee

           de l'Armee which was made by Giacomo Berselli of Bolognia in the late 1660s.2 1 However,

          more well-known and relevant to the Founding Fathers, is Michele Lorenzoni of Florence.

          He developed a magazine-fed repeater, in pistol and rifle form, known as the Lorenzoni

          system. This design was copied and modified by numerous designers after its invention with

          various configurations and magazine capacities. One such firearm was designed by British

          gunsmith, John Cookson in the late seventeenth century. A gunmaker in Boston, also named

          John Cookson - it is not clear if this person was the same Cookson from England, a relative,

          or a coincidence - published an ad in the Boston Gazette, in 1756, advertising a nine-shot

          repeating firearm. Around the same time a Cookson-type twelve-shot repeater was made by

          gunmaker John Shaw. 22 Another example from the 1750s in America is the Belton repeating

          fusil. This gun was invented by Joseph Belton around 1758. Not a magazine repeater like the

          Lorenzoni, the Belton utilized superimposed loads. Notably, he petitioned the Continental

          Congress during the American Revolution to adopt his firearm. In 1776, he wrote Congress

          saying he designed a firearm that could fire eight shots in three seconds. Benjamin Franklin



          20
              Some of this research was compiled by the late historian, Herbert G. Houze and was featured in the Houston
          Museum of Natural Science's The Art of the Hunt: Decorated European Sporting Arms from 1500-1800 (2019) .
          21
             For more information, visit: https://royalannouries .org/stories/our-collection/the-christmas-connection-to-captain-
          souths-lorenzoni-pisto l-our-collection/ Accessed 10/24/2022
          22
             An example of this firea1m can be found in the National Firearms Museum <https://www.nramuseum.org/the-
          museum/the-galleries/the-road-to-american-liberty/case-22-the-paper-cartridge/cookson-volitional-repeating-
          flintlock.aspx> It is also discussed here: < http://fireaimshistory.blogspot.com/2014/02/the-cookson-repeater.html>
          Accessed 10/24/22



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           wrote to George Washington in support of the idea. 23 Washington ordered one hundred

           Belton firearms for use in the Continental Army. However, this order was canceled because,

           as this report has previously stated, cost is often an impediment to battlefield adoption. It is

           alleged that Belton then sold his firearms to the public. 24 A few decades later around 1779,

           the Girardoni (also spelled Girandoni) air rifle was developed. It was a repeating aim that

           could fire twenty-two rounds from a tubular magazine. 25 This design also was copied by

          gunrnakers around the world. 26 The actual Girardoni was used by Meriweather Lewis on the

          Lewis and Clark Expedition ( 1804-1806). This air rifle had also been in service with the

          Austrian military, but light weight examples were produced in sporting vai·iations. 27

                  22.      The above text serves merely as an example of the numerous types of

          repeating firearms, utilizing a range of technologies including magazines, which existed

          leading up to and at the time of the ratification of the Second Amendment and in some cases

          had direct ties to Founding Fathers. While these repeaters can be criticized as "one-off



          23
             These letters can be found here: <https://founders.archives.gov/documents/Washington/03-05-02-0311 > Accessed
          10/22/22
          24
             What is believed to be the prototype of the Belton fusil is in the Smithsonian Institution's National Firea1ms
          Collection:< https://americanhistory.si.edu/collections/search/object/nmah_ 440031 > Accessed 10/22/2022.
          Additionally, Rock Island Auctions, who has sold recently several reproduction Beltons provides a great overview
          of this histmy <https://www.rockislandauction.com/riac-blog/assault-weapons-before-the-second-
          amendment#:- :text=The%20Belton%20%22Roman%20candle%22%20fusil%20is%20the%20first,a%20chained%2
          0charge%20much%20like%20a%20Roman%20candle> Accessed 10/22/2022
          25
             Kopel, David. "The History of Firearms Magazines and Magazine Prohibitions." Albany Law Review, Vol. 88,
          2015,pg. 853
          26
             An example of a Russian copy of a Girardoni Rifle can be found in the Cody Fireaims Museum
          27
             For more information on Lewis and Clark and the Girardoni, the most comprehensive research on the Girardoni
          air rifle was done by scholar Michael Canick. His research is footnoted in this summary aiticle of the Lewis and
          Clark firearms that can be found here: <http://www.westemexplorers.us/Firearms_of_Lewis_and_Clark.pdf.>
          Accessed I 0/22/22 Additionally, Ian McColl um, one of the foremost authorities on fireaims technology in the
          United States, has done several videos and articles about the firearm. This is one article he did
          <https://www.forgottenweapons.com/J;fles/girardoni-air-rifle/> Accessed I 0/22/2022. A surviving example of a
          Girardoni can be found: <https://www.nramuseum.org/guns/the-galleries/a-prospering-new-republic-J 780-to-
          1860/case-8-romance-of-the-long-rifle/girardoni-air-rifle-as-used-by-lewis-and-clark.aspx> Accessed I 0/22/22
          Rock Island sold a sporting variation in 2018: <https://www.rockislandauction.com/detail/75/3293/girandoni-
          system-repeating-air-gun > Accessed 10/22/22



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             examples" or in some cases unsuccessful by modern and/or historic standards, it is important

            to keep in mind that this was typical as they were often made by private gunsmiths and

            sometimes individually commissioned. Additionally, just because some firearms designs had

            flaws , imperfections, or issues, does not mean the technology ceases to exist or should be

            ignored. As manufacturing processes advanced, these concepts evolved into repeaters

            produced in greater and more standard quantities.

            Laws and Relevance

                       23.   In the colonial period, the bulk of firearms laws were centered on restricting

            access to certain people rather than firearms themselves. Therefore, even if a firearm or

            weapon was specifically mentioned in a law, the type of weapon is not necessarily relevant,

            as other civilians were still permitted to own them even if some people were restricted. Each

            colony developed their own policies. In 1640, Virginia law stated, "that all such free

            Mulattoes, Negroes and Indians ... shall appear without arms." 28 South Carolina also had

            similar bans in 1712. 29 It is generally understood that early laws were largely motivated by

            race. 30

                       24.    The British government also used regulation to control the colonists through

            access to gunpowder by seizing public powder houses, also referred to as "magazines."



            28
               One of the best resources to search all firearms laws is the Repository of Historical Gun Laws, Duke University
            School of Law. <https://firearmslaw.duke.edu/> Accessed 10/25/2022. However, a concise summary of these laws is
            also broken down by: Ekwall, Steve. The Racist Origins of US Gun Control.
            <https://www.sedgwickcounty.org/medi a/29093/the-racist-origins-of-us-gun-control.pdf> Accessed 10/22/22 Here
            he references: 7 The Statues at Large; Being a Collection of all the Laws of Virginia, from the First Session of the
            Legislature, in the Year 1619, p. 95 (W.W. Henning ed. 1823) (GMU CR LJ, p. 67)
            29
               Eckwall, 7 Statutes at Large of South Carolina, p. 353-54 (D.J. McCord ed. 1836-1873). (GMU CR LJ, p. 70)
            30
               The abstract of Cramer, Clayton E. "Colonia Firea1ms Regulation" (April 6, 2016) puts it fairly succinctly:
            "Fireaims regulation in Colonial America was primarily focused on encouraging gun ownership for defense against
            external threats (Indians, pirates, non-British European powers) and internal threats (slave rebellions)"



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            Although it is not to be confused or conflated with the mechanical devices discussed

            throughout this declaration. They achieved this because, due to fire hazard, large stocks of

             black powder were kept in a communal powder house, which was a repository for both

            individuals and merchants to store their powder. It also provided powder for people who

            were unable to afford it. 31 In one instance of disarmament, Royal Governor Thomas Gage,

            in 1774, seized remaining powder in Charleston, causing a flurry of responses, known as the

            Powder Alarm, from the colonists that was considered preparation for the Battles of

            Lexington and Concord. 32 Shortly thereafter, King George III enacted a restriction to

            "prohibit the Exportation of Gunpowder." 33 As a result, Revolutionary leaders, such as Paul

            Revere, required possession of arms and ammunition by militiamen and many required

            powder and projectiles in quantities greater than ten pounds and rounds respectively. 34

                     25.     While the ownership of gunpowder was outright encouraged, there were still

            very real concerns about the instability of gunpowder. It is important to note that modem

            gunpowder is far more stable than historic black powder. Even so, it is still recommended to

            be stored separately from firearms in the home even today. 35 As a result of instability, fire

            prevention laws were enacted, not to disarm individuals but to provide them a safe place to

            store their powder while also reducing the potential for fire within communities. Philadelphia

            in 1725 enacted a law "for the better securing of the city of Philadelphia from the Danger of


            31
               Johnson et al. Firearms Law and Second Amendment Regulation, Rights, and Policy (3rd ed. 2021), pg. 271
            32
               Ibid. , pg. 271
            33
               Ibid, pg. 272
            34
               Duncan v. Becerra, 366 F. Supp. 3d 1131 , 1150 (S.D. Cal. 2019)
            35
               According to the Sporting Aims and Ammunition Manufacturer's Institute, "ammunition should be stored in a
            cool, dry location away from solvents and other chemical heat sources, or open flames ... ammunition should be
            stored separately from firearms" < https://saami.org/wp-content/uploads/2018/0 l /SAAMI_ AmmoStorage.pdf->
            Accessed I 0/25/22



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             Gunpowder." Under this Act, safety was also defined as the distance of beyond two miles

            outside of town limits.36 Similarly, Boston in 1783 also made a storage law citing the

            instability of black powder. "In the houses of the town of Boston, [it] is dangerous to the

            lives of those who are disposed to exert themselves when a fire happens to break out in

            town." 37 The idea of a required distance in which it was safe to use black powder for

            firearms and also for fireworks, was echoed in these laws. While in the above example it

            considered distance within town limits, some places legislated a safe distance from the

            powder house itself. For example, in 1762, Rhode Island enacted "that no person whatsoever

            shall fire a gun or other fireworks within one hundred yards of the said powder house." 38

            Additionally, Rhode Island in 1798, provided guidance on how to safely store powder in the

            home. They also provided a safe space to store anything over twenty-eight pounds 39 These

            laws strongly focused on safety from a perspective of fire prevention rather than a position of

            regulating the amount of powder one could have since powder houses were built for large

            quantities of chemically unstable and combustible material.

                     26.      In summary, at the time of the Founding Era, laws about firearms restriction

            were regularly directed towards groups of people rather than the firearms themselves. Within

            these laws, repeating and firing capacity are not mentioned. In some cases, the militia



            36
               1725 Pa. Laws 31, An Act for the Better Securing of the City of Philadelphia from the Danger of Gunpowder
            <https ://firearms law. duke. edu/laws/ 1725-pa-laws-3 1-an-ac t-for-the-better-securing-of-the-city-of-phi Iadel phi a-
            from-the-danger-of-gunpowder-%c2 %a 7-2/> Accessed 10/25/22
            37
               Thomas Wetmore, Commissioner, The Charter and Ordinances of the City of Boston
            <https://firearmslaw .duke.edu/laws/thomas-wetmore-commissioner-the-charter-and-ordinances-of-the-city-of-
            boston-together-with-the-acts-of-the-legislature-relating-to-the-city-page-142-143-image-142-1834-available-at-the-
            making-of/> Accessed l 0/25/2022
            38
               1762 R.I. Pub. Laws 132 <https: //firearmslaw.duke.edu/laws/1762-r-i-pub-laws-132/> Accessed 10/25/22
            39
               1798-1813 R.I. Pub Laws 85 < https: //firearmslaw .duke.edu/laws/1798-1813-r-i-pub-laws-85-an-act-relative-to-
            the-keeping-gun-powder-in-the-town-of-providence-%c2%a72/> Accessed 10/25/22



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             required arms and ammunition to be in civilian possession partially due to British attacks on

            public powder houses. Additionally, laws concerning the private possession of gunpowder

             were centered around fire prevention within and near town's limits or proximity to a powder

             house.

            The Second Founding Era

                      27.     According to Bruen, under certain circumstances the Second Founding Era,

            surrounding the Fourteenth Amendment, can be used to provide insight into historical

            analogues. As mentioned in the previous section, repeaters, including magazine-fed firearms,

            were known, and becoming increasingly popular at the time of the Fourteenth Amendment.

            Capacities over ten rounds existed before and during this time. Laws yet again did not

            concern capacity. They continued to center around restrictions against groups of people.

            They also centered around carry. Ironically, though some firearms regulated in carry laws

            were still legal, despite having the same or even greater capacity, as long as they were

            physically larger in size, or in some cases more expensive.

            Repeaters

                      28.     The period before and after ratification of the Fourteenth Amendment saw

            changes in the landscape of design and technology outside of just firearms. The transition of

            firearms being made by private gunmakers began shifting to factories by the mid-nineteenth

            century. Inline manufacturing, interchangeable parts, and mass production impacted not only

             the types of firearms that were available, but also quantity and quality. Prior to the American

            Civil War, there were many makers and manufacturers of repeating firearms, however, the

             tradition of individual gunmakers was still prominent. While repeating firearms, magazine-

            fed or not, exceeded ten-rounds centuries prior, the number of distinct types of repeaters by



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           the middle of the nineteenth century was staggering. It is important to note that while this

           report references the ceiling of ten rounds, that number is historically arbitrary as it is unfair

           to assume that a person during that time would make a distinction between capacities under

           and over ten rounds, especially considering to my knowledge, the federal government itself

           did not until the 1990s.40

                      29.        After the ratification of the Second Amendment, repeating technology

           continued to evolve as it had for centuries. During this time frame, especially leading up to

           the Industrial Revolutions and standardization of interchangeability and in-line

           manufacturing processes, designs were very much a trial-and-error process. One such

           repeater was designed in 1821 and was known as the Jennings repeating flintlock. It was

           capable of firing twelve rounds before having to reload. 41 Pepperbox pistols, a revolving

           pistol with multiple barrels that were manually rotated on a central axis, were popular in the

           United States by the 1830s, some were even taken out west with California gold miners. One

           maker of pepperboxes alone, Ethan Allen, between the 1840s and 1850s made over forty

           variations of this style of firearm. 42 While many pepperbox pistols typically fired four to six

           shots, some were capable of firing twelve, eighteen, or twenty-four rounds. 43 It becomes

           difficult to quantify the number of repeaters on the market though because makers were so

           plentiful. In 1836, a year before Samuel Colt's first patent in England of his revolving



           40
              This date is referencing the Public Safety and Recreational Firearms Use Protection Act (1994) . Additionally,
           there are many resources that can showcase the number of repeaters available in this time frame in the United States,
           but the place that aggregates them the best is Flayde1man, N01m. The Flayderman 's Guide to Antique American
           Firearms ... and their Values. 9 th Ed.
           41
              Flayderman, Pg 683
           42
                Ibid pg. 56-61
           43
              Kopel, pg. 854. Additionally, pinfire pistols and long guns can be found in museum collections with capacities
           greater than ten rounds




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            mechanism, the patent process was standardized through the United States Patent Act. That

             year, Samuel Colt took out two patents for five or six-shot revolving rifles and pistols. As a

            result, he owned the legal right to produce, essentially the revolver, until it expired in the

             mid-l 850s. This Act created a flurry of production, innovation, and design especially

            towards repeaters and magazines to varying degrees of success. The fact though that so many

            people were trying to design the next great repeater shows the desire to capitalize on this

             technology. 44

                     30.      It has been cited and challenged that the Winchester Model 1866 was the first

            magazine-fed repeater that held more than ten rounds to achieve commercial success. 45 The

            Winchester Model 1866 lever action rifle was the first firearm sold using the Winchester

            name. Between 1866 and 1898, approximately 170,101 Model 1866s, in .44 Rimfire, were

            produced. Of that model alone, around ten variations existed. It was hoped that the

            Winchester Model 1866 would see successful adoption by the US military, however, it did

            not. Only a small percentage, roughly 1/3 of total production, were made ultimately for use

             by foreign militaries. 46 In reference to his Model 1866, Oliver Winchester refe1Ted to it as

            "one of [the company's] best sporting guns" in a letter, dating 1871 , to prominent gunmaker

            R.S. Lawrence. 47 In a Winchester testimonial from 1865, W.C. Dodge, Late Examiner of the


            44
                Examples of these patented repeaters include Volcanic lever actions, the Jarre Haimonica pistol and rifle, Potter
            and Genhait turret rifles, Josselyn Chain Revolvers etc. More successfully were revolvers and repeaters by Smith &
            Wesson, Remington, Merwin & Hulbert, Henry, Winchester etc.
            45
                Kopel, pg. 869
            46
                Flayderman's also provides the number of Mexican contract fireaims there were. The records are not complete
            for the Model 1866. The Records can be found in the Cody Fireaims Museum's Records Office. Here is a
            breakdown of what has survived through the Winchester collector. https://winchestercollector.org/models/model-
            1866/ This article also provides a breakdown of other military contracts. <
            h ttps ://www .americanrifleman.org/content/winchester-lever-actions-go-to-war/> Accessed 10/22/22
            47
                Oliver F. Winchester's letter to R.S. Lawrence, dated 10 February 1871. McCracken Research Library, MS20,
            Box 51, Folder 6




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            US Patent Office, boasted that Winchester's "Magazine Rifle, with the recent improvement,

            is superior to any other arm ever presented to the public." 48 In the beginning, Winchester did

            lean into its previous involvement with the Henry rifle as a marketing tool because it was a

            known commodity, however, within a decade after the company's founding, Winchester

            catalogs detailing their sporting models and diverse product lines were interspersed with

            testimonies from hunters and civilians about their love of the technology. 49 The categories

            for their 1875 catalog reads: "Winchester's Repeating Fire-Alms, Rifled Muskets, Carbines,

            Hunting and Target Rifles, &c .. ." 50 One such testimonial was from famous performer,

            William F. Cody, who proclaimed, "I have tried and used nearly every kind of gun made in

            the United States, and for general hunting or Indian fighting, I pronounce your improved

            Winchester the boss." 51 Despite the ways that Winchester chose to frame and market their

            firearms though, it should be noted that while advertising can influence a consumer, a

            consumer also has agency to purchase and use the product they want for their own purposes.

                     31.     While Winchester would provide the United States smaller runs of their

            firearms designs modified for military service around the tum of the twentieth century,

            Winchester would not truly be seen as a full-scale military manufacturer until their

            involvement in World War I when government owned armories could no longer meet the

            demand for military arms. Winchester and other manufacturers such as Remington stepped in



            48
               Dodge is most likely referencing the 1865 King's Patent Improvement which incorporated a side loading gate to
            improve the speed of loading the firearm. Winchester's Repeating Firearms Rifled Muskets, Carbines, Hunting,
            and Target Rifles, &c ... Metallic Cartridges of all Kinds, manufactured by the Winchester Repeating Aims
            Company." Catalogues Vol. I (1865-1881). McCracken Research Library TS 533.5.W543199lvlc2
            49
               McCracken Research Libra1y TS 533.5.W543 l 991 vlc2
            50
               Ibid
            51
               Ibid, pg. 28-29



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             initially producing firearms - sometimes not even associated with their brands - invented by

             other designers, companies, and/or armories, such as the British Pattern 1914 Enfield and the

             American version, the U.S. Model 1917. These military contracts however would ultimately

             be the financial demise of the company as it went into receivership in 1931. 52

                      32.      Outside of those early small contracts, Winchester continued designing guns

             for the civilian market. The Winchester Model 1873 boasted a production of around 720,610

             manufactured in at least twelve variations, including almost 20,000 in .22 caliber rimfire - a

             caliber used for target shooting and varmint hunting. Model 1873 rifles were chambered in

             .32-20, .38-40, .44-40, and .22 caliber. The Model 1876 had a manufacturing run of 63 ,871

             firearms with around fifteen variations. This Model was a larger version of the Model 1873

             and chambered in heavier calibers (.40-60, .45-60, .45-75 , .50-95), which made the firearm

             more desirable for hunters, including President Theodore Roosevelt. 53 At one point, they

             produced an exclusive line of high-level sporting arms of the Models 1873 and 1876 known

             as the "1 of 100" and "1 of 1,000" models. Between the start of the company until 1898,

             Winchester released fourteen repeating models. Those models would eventually be produced

             in over one hundred variations, chambered for around thirty different cartridges.54

             Winchester continued mass producing repeating firearms throughout the rest of the

             nineteenth century and beyond. Considering the diversity within models, variations and

             especially calibers, these guns were developed for specific and sometimes divergent purposes



             52
                This information can be found in pretty much any book about Winchester. The author also knows this
             infotmation for the decade she spent running the Cody Fireann s Museum, formerly known as the Winchester
             Museum, which is home to Winchester's fireaim s collection as well as ai·chives from the company
             53
                Flayderman, pg 309
             54
                Ibid pg 306-322



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           and cannot not be reduced into one category of simply being a Winchester repeater.

                   33 .     In fact, while Winchester may be most recognized for their lever action, they

           also made other repeaters, such as double barrel shotguns, straight pull and standard bolt

           action rifles , slide action rifles and shotguns, semi-automatic rifles and shotguns, and even

           machine guns. In terms of the handgun market, Winchester attempted to make revolvers in

           the 1870s and during World War I received a commission late in the war to make Model

           1911 semi-automatic pistols . Winchester even is credited of having designed what is

          considered one of the earliest if not the earliest "assault rifles" per the Defense Intelligence

          Agency ' s definition from 1970. 55 Winchester, in 1917, designed a selective fire (meaning

          capable of switching between semi-automatic and automatic functions) , single person

          portable rifle with twin top-mounted twenty-round detachable magazines, chambered for an

          intermediate cartridge. Not only did Winchester designer, Frank Burton, develop this

          firearm, he also invented an accompanying inte1mediate cartridge, the .345 WSL with a

          spitzer bullet. 56

                   34.      Winchester wasn't the only manufacturer though of repeating fireaims in the

          mid to Dlate 19 th century. Other companies were producing competitive repeaters, such as

          the Evans Repeating Rifle, which was made between 1873 and 1879. Approximately, 12,200




          55
             Not to be confused wi th assault weapons, according to the Defense Intelligence Agency: "Assault rifles are sho1i,
          compact, selective-fire weapons that fire a catiridge intermediate in power between submachinegun and rifle
          ca1tridges." Johnson, Harold E. Small Arms Identification and Operation Guide - Eurasian Communist Countries.
          An Army Intelligence Document. US Army Foreign Science and Technology Center November 1970, pg. 68.
          56
              While there are some texts on this firearm, including Forgotten Weapons:
          <https: //www.forgottenweap ons.com/bmion-1917-light-machine-rifle/> The only known exampl e is in the Cody
          Firearms Museum. It is accompanied by fi eld testing notes and ammunition, providing a more accurate picture of the
          rifl e than what has been previously published. Accessed 12/ 19/2022




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           were made and they came in three variations, Sporting (approximately 4,350 made), Military

           (approximately 3,200), and Carbine (not specified as either sporting or military,

           approximately 4,700 made). The Evans held magazine capacities at twenty-eight, thfrty-four,

           and thirty-eight rounds .57 The Evans as well as other companies such as the Spencer

           Repeating Rifle, Fogerty Repeating Rifle, Adirondack Firearms, Bullard Repeating Arms,

           Burgess Gun, and the Whitney Arms Companies were making repeaters. However, they are

           lesser known, partially because Winchester realized the value in their designs and the threat

           of them as a competitor, so they acquired the companies. 58 Other major manufacturers, such

           as Marlin, quickly popped up as well by the 1880s as a direct competitor to the Winchester

           lever action. Additionally, by the end of the 19th century, major manufacturers were making

          fixed and detachable magazines in quantities greater than ten that were not only lever actions

          rifles. In fact, between 1887 and 1904, Colt manufactured an estimated 186,185 Colt

          Lightning slide action rifles, in small, medium, and large frames . While they came in several

           calibers, they also had fixed tubular magazines greater than ten rounds .59 In all, there were

          over one hundred manufactmers or makers in the United States alone producing some type of

          repeating firearm leading up to and decades after the Civil War. 60

                  35.      As plentiful as variations in Winchester firearms are though, the above

          information does not take into account the gargantuan amount of ammunition Winchester

          manufactured. In general, not enough is said about Winchester's innovation in cartridge


          57
             Flayderman, pg. 694-695
          58
             An entire exhibit at the Cody Firearms Museum is dedicated to the many repeating arms companies that
          Winchester acquired. Examples are archived in the Winchester Aims Collection.
          59
             Fl ayderman, page 122-123
          60
            Ibid, Chapters V: A-F pages 50-299; Chapter VII: A, B, C Pages 351-387; Chapter VITI: A Pg458-524; Chapter
          XIII pages 691-697; Chapter XV: pages 709-733



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           design and the fact that ammunition production was responsible for much of the financial

           success of the company. According to David Kowalski, author of the Standard Catalog of

           Winchester: The Most Comprehensive Price Guide Ever Published, "cartridges played a

           larger role in the business operations of the Winchester Repeating Arms Company (W.R.A.

           Co.) than most collectors realize. Because ammunition is a high-volume, high profit product,

           it literally carried the W .R.A. Co. for most of its existence. " 6 1 Their cartridge designs were

           so popular that other companies, such as Colt, would offer variations of their iconic firearms,

           such as the Colt Single Action Army revolver, to accommodate Winchester developed

           cartridges, such as the .44-40. Ammunition production was so vital to Winchester that the

           company who bought them out of receivership, the Olin Corporation, was their ammunition

           competitor. Today, the only surviving thread of the company is Olin's Winchester

           Ammunition. The various firearms brands that bear the Winchester name, are produced by

           companies that license the name from Olin.

           Magazines

                   36.     In addition to the developments in repeating innovation, magazines began to

           be patented as well. Even though tubular magazines existed long before, the tubular

           magazine was first patented in the US in the 1840s, notably with the Hunt Volitional Rifle,

           the oldest direct ancestor to the Winchester rifle. Magazines though came in many shapes

           and sizes and became prevalent around this time. For example, not all tubular magazines are

           fixed to the firearm, some such as the Spencer lever action repeating rifle which utilized a

           detachable tubular magazine from the butts tock capable of holding seven rounds. A speed


           61
             Kowalski , David D. Ed. Standard Catalog of Winchester: The Most Comprehensive Price Guide Ever Published.
           Krause Publications 2000, pg. 159.



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           loader even existed for that magazine. In the 1850s, the Genhart turret rifle had a detachable

           circular magazine with an externally visible shot/round counter. Between 1859 and 1862, the

           Jarre Harmonica Pistol and Rifle received several patents. This gun has a horizontally seated

           magazine that slides after each round is fired like a typewriter. It is also detachable.

                    37.      In terms of box magazines specifically, early ones were patented by designers

           including Rollin White in 1855 .62 A detachable version was patented in 1864 by Robert

           Wilson. 63 A vertically stacked box magazine was patented by James Paris Lee in 1879

           which was applied to several rifles including the Mannlicher Model 1886 rifle. 64 In terms of

           early semi-automatic pistols, the Mauser C-96 had a fixed magazine, and the Borchardt C-93

           had a detachable one. Semi-automatic models of Winchester utilized various types of

           magazines, including the Winchester Model 1907, a centerfire rifle capable of firing up to

           twenty rounds from a box magazine and the Winchester Model 1903 which was also fixed

           with a lesser-known Sabo ninety-six round detachable magazine. By the end of the

           nineteenth century, the earliest versions of semi-automatic pistols such as the Borchardt C-93

           contained eight rounds from a detachable magazine (1893) and the Mauser C-96 had a ten-

           round magazine (1895) but also came in configurations as high as twenty rounds .65 Even

           certain Luger semi-automatic pistols in the early 1900s had the option of thirty-two round

           snail drum magazines. 66

           Laws and Relevance



           62
              White, Rollin. US Patent No 12648 (1855)
           63
              Wilson, Robert. US Patent No 45 105 (1864)
           64
              Lee, James Paris US Patent No 22 1328 ( 1879)
           65
              Kopel, 857 referencing Standard Catalog of Firearms. (2014), Gun Digest Books, pg. 708-709
           66
              A version of this section on magazines was initi ally completed by author for Miller et al v Bonta



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                     38.      Racial firearm bans continued into the nineteenth century. States including but

            not limited to Louisiana, South Carolina, Florida, Delaware, Maryland, North Carolina, and

            Mississippi enacted race bans between ratification and the American Civil War. 67 Some

            states, for a time, would permit African Americans to carry guns with court approval, but

            they were eventually repealed. 68 Several laws upheld their justification for race-based

            regulation on the fact that Black people were not considered citizens, which was upheld in

            the 1857 case of Dred Scott v Sandford.

                     39.      During this period in between ratifications of the Second and the Fourteenth

            Amendments, some laws emerged restricting carry by any person. According to Professor of

            Sociology at Wake Forest University David Yamane, one of the earliest examples was in

            Kentucky in 1813. The General Assembly of the Commonwealth stated: "That any person in

            this commonwealth, who shall hereafter wear a pocket pistol, dirk, large knife, or a sword

            cane, concealed as a weapon ... shall be fined in any sum, not less than one hundred dollars."

            However, nine years later in 1822, the Kentucky Supreme Court ruled that ban violated their

            1792 Constitution. 69 Other states adopted similar carry regulations, some still only for

            certain groups of people.

                     40.      In Oregon, two laws enacted prior to being established as a state prohibited the

            "sale of arms and ammunition to Indians" like the laws dating before the federal




            67
               Ekwall
            68
               Ibid, referring to Act of Nov. 17, 1828, Sec. 9, 1828 Fla. Laws 174, 177; Act of Jan. 12, 1828, Sec. 9, 1827 Fla.
            Laws 97, 100; Refening to Act of Jan. 1831, 1831, Fla. Laws 30
            69
               Yamane, David. Concealed Carry Revolution: Expanding the Right to Bear Arms in America. A New Press
            (2021 ), pg. 17-18. David Yamane is a Sociology Professor at Wake Forest. This book was just a small portion of his
            larger research on gun culture that he calls, "Gun Culture 2.0." More of his research can be found at
            gunculture2point0.com



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             government's Founding Era, and also, concerned caITy but not licensure.70 The earliest act

            that discusses licensing (1872) relates to the sale of gun powder under the "Charter of the -

            City of Portland, Street and Fire Department Laws, Ordinances, Regulations" similar to fire

            prevention laws previously mentioned. 7 1

                       41 .      Despite the abolition of slavery, discriminatory laws that included firearms

            regulation continued. One such way that could be legally achieved was through the Black

            Codes. While there were many aspects of discrimination in the various state "Codes," many

            included challenges to Black Second Amendment rights. For example, Alabama in 1866 not

            only banned Blacks from owning firearms and other weapons, but also made it illegal to lend

            or sell to a black person. 72 The Civil Rights Act of 1866, the Fourteenth Amendment and the

            Second Freedmen's Bureau Act in 1866 attempted to dispel a variety of these issues. 73 In

            February 1866, the House of Representatives amended the Second Freedmen's Bureau Act to

            explicitly state that people had the "full and equal benefit of all laws and proceedings for the

            security of person and estate including the constitutional right to bear arms." 74 Following

            the passage of these acts, however, southern states then passed laws, known as Army/Navy

            Laws, in which certain firearms, such as Colt Army and Navy model revolvers were

            permitted while cheaper versions were not legal. 75 Prohibiting the proliferation of



            70
               Repository of Historical Gun Laws, Duke University School of Law < https: //fiream1slaw.duke .edu/laws/1853-or-
            laws-220-proceedings-to-prevent-commission-of-crimes-ch-16-%c2%a717/> <
            https://firearmslaw.duke.edu/laws/1853-or-laws-257 /> Accessed December 19, 2022
            71
               Ibid < https ://firearmslaw .duke.edu/laws/charter-of-the-city-of-portland-street-and-fire-department-laws-
            ordi nances-regu Iation s-c-page-225-22 7-image-226-228-1872-avai lab le-at-the-making-of-modern-law-prima1y-
            sources/> Accessed December 19, 2022
            72
               Ekwall
            73
                 A detailed explanation of this can be found in: Johnson et. al pg. 465-471
            74
                 Ibid, pg. 466
            75
                 Eckwall




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           inexpensive handguns on the market, whether intentionally or unintentionally imposed a

           classist restriction on those who could no longer afford to aim themselves- a trend that has

           continued well into the modem era.

                   42.      The Enforcement Acts of 1870 and 1871 were meant to protect the rights of

           free men under the Fourteenth and Fifteenth Amendments. Yet these seemingly positive

           changes were short lived. During the 1872 election for Louisiana governor, President Ulysses

           S. Grant sent troops to support the Republican candidate. In response, a group of white

           supremacists began harassing Black and White Republicans. These tensions culminated in

           Black and White Republicans taking up defense in a local courthouse in Colfax, LA. In 1873,

           150 white men surrounded the courthouse and at one point, would fire a cannon at the

           building. Note: White Republicans were given the opportunity to leave before the massacre

           ensued. Black Republicans were left to fight with inferior weaponry. In the end, Black

           Republicans would surrender to the mob, led by a man named William Cruikshank. After

           surrender, somewhere between sixty to one hundred and fifty African Americans were

           killed.76 Although Cruikshank and around ninety-six white vigilantes were charged for

           violating the Enforcements, only a few were convicted. 77 Even then, the Supreme Court, in

           United States v Cruikshank (1875), overturned the conviction ruling that the federal

           government could not prevent private citizens, in this case KKK members, from disarming

           Blacks and that the matter must be relegated to the states. 78

                   43 .    Another example concerning disarmament of a group of people occurred


           76
              Johnson et al, pg. 471
           77
              Ibid, pg. 471 as well as summarized in <https://www.smithsonianmag.com/sma1i-news/1873 -colfax-massacre-
           crippl ed-reconstruction-180958746/> Accessed 10/25/22
           78
              Ibid, pg. 471



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             leading up to the American Civil War. Violent confrontations broke out in Kansas , known as

            Bleeding Kansas, between 1854 and 1859. At one point an anti-slavery movement of "Free

             Soilers" decided to arm themselves with single-shot Sharps rifles by smuggling them into the

            territory. However, the pro-slavery segments, under the command of a deputy federal

            marshal, attempted to disarm these settlers, most notably during the Sacking of Lawrence. 79

            In response to the situation in Kansas, abolitionist Charles Sumner gave his famous speech

            on the floor of the United States Senate on May 19, 1856, "The Crime Against Kansas."

            During which, South Carolina Senator A.P. Butler, supposedly stated that the people of

            Kansas should no longer possess their arms. During Sumner's speech, he attacked Butler and

            affirmed the right of individuals to bear arms:

                       "The rifle has ever been the companion of the pioneer and, under God, his tutelary
                       protector ... Never was this efficient weapon [referring to the single shot Sharps Rifle]
                       more needed in self-defense, than now in Kansas, and at least one article in our
                       National Constitution must be blotted out, before the complete right to it can in any
                       way be impeached .. ." 80
                       This speech culminated in violence against Sumner, who was beaten with a cane on

            the Senate floor for advocating against disarmament. Yet, even after a Civil War and thirty-

            five years later government disarmament would lead to the largest mass murder in American

            history. On December 29, 1890, Colonel James Forsyth, commander of the 7th Cavalry,

            ordered the Lakota to su.1Tender their firearms leading up to their removal from the land they

            inhabited. It is debated exactly what happened to pull the trigger on the slaughter, but in the

            end, hundreds of Lakota were killed. 8 1

                       44.      After a long history of government related violence as well as private


            79
                 Johnson et al, pg. 456
            so Ibid, pg. 456
            81
                 Utley, Robert M . Th e Last Days of the Sioux Nation. 2nd Ed. Yale University Press, pg. 211




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           vigilantism, Black people, particularly in the South, called for their personal armament to

           protect themselves. Much research has been done focusing on violence against people of

           color as a justification for firearms restrictions, however, less explored is the fact that Black

           people used and relied on firearms for protection from violence. These two ideologies

           conflict with one another. On one side, it is argued that restrictive laws would reduce

           violence, specifically on marginalized communities. On the other, it is argued that gun

           ownership allows those communities the best ability to protect themselves. In this

           circumstance, a restriction would take away rights of the latter, putting them again at risk of

           violence. This desire to protect oneself with the best technology available was echoed

           amongst the Black community in the late nineteenth century through prominent leaders. For

           example, John R. Mitchell, Jr., Vice President of the National Colored Press Association,

           encouraged Black people to buy Winchesters to protect their families from the 'two-legged

           animals ... growling around your home in the dead of the night." 82 Ida B Wells, an activist

           and journalist in the South, wrote in 1892, "that a Winchester rifle should have a place of

           honor in every black home, and it should be used for the protection which the law refuses to

           give." 83 These activists also encouraged Black Americans to move to Oklahoma where they

           formed self-defense organizations. One Black journalist reported that in Oklahoma he "found

           in every cabin [he] visited a modern Winchester oiled and ready for use. "' 84


           82
              Johnson et al., p 521 referencing Giddings, Paula J. Ida: A Sword Among Lions (2008), pg. 153-154
           83 Ibid, pg. 521 referencing Wells, Ida B. South ern Horrors. N .Y. Age June 25, 1892. Reprinted in Wells, Ida B.
           The Light of Truth : Writings of an Anti-Lynching Crusader, pg. 84
           84
              While this reference is obviously anecdotal for the number of Winchesters in circu lation in a given area, Michael
           Vorenberg's declaration in Duncan claims as little as 8,000 Winchesters were in circulation in the post-Civil War
           South. However, this number is based on an order of 6,000 from Governor Scott for the South Carolina Militia,
           1,000 for the Metropolitan Poli ce Force in Louisiana, and 1,000 potentially sto len firearms. It has been stated though
           that the government was slow to adopt this technology, despite still being produced into the hundreds of thousands.




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                    45.      To summarize: in Kansas, pro-slavery government backed officials sought to

           disarm Free Soilers of their high-quality single-shot Sharps rifles. Sumner denounced this

           effort and started a fight with Senator Butler, who himself would backtrack and claim he

           never supported disarmament. In the Colfax massacre, Black Republicans were outgunned

           by a mob with superior weapons. The Wounded Knee Massacre started because of a

           government sanctioned disarmament of the Lakota, who had in some cases, superior

           weaponry. The firearms confiscated at Wounded Knee included Winchester rifles, though it

           did not serve them any good considering what transpired. And Black southerners particularly

           sought to have the best weapons available for a government they believed was not there to

           protect them.

                   46.       Some scholars argue that the passage, despite the repeal in many instances, of

           state laws regulating the carry of specific types of weapons serve as sufficient evidence to

           support a modern magazine ban. However, it is important to reiterate that these regulations

           regarding specific types of weapons have occurred in some cases to take away the rights of

           some but not others. For laws that did include everyone, weapons typically on that list had

           some sort oflarger counterpart, as in the Army/Navy laws, which would have at least equal

           capacity or were still permitted via licensure. Furthermore, these laws did not explicitly

           concern themselves with capacity or magazines but more often the size and/or other criteria

           of concealment. Other laws during this period, had more to do with whether or not the

           government could protect you and your rights resulting in unfortunate outcomes. In the case



           Therefore, it is misleading to infer these orders would be the only way to measure the number of Winchesters in the
           South at that time. The footnoted quote is from : Johnson et al., p 521 referencing Giddings, pg. 198




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             of disarmament and the need for defense, it seems that citizens often affected by these

             tragedies were less concerned about a discourse on the morality of firearms technology, but

             instead protecting themselves with the best technology available.

             Conclusion

                     47.      According to Bruen, time frames outside of the Founding and Second Founding

             Eras can be considered informative, providing context for the mindset and knowledge behind

             designs and legal decisions, although it does not hold the same weight. This report has

             provided an outline of repeaters and magazine-fed repeaters with a capacity of over ten rounds

             in the previous two sections establishing the existence and use of these types of firearms. The

            proliferation of such technology in the twentieth and twenty-first centuries is astounding. As

             such and coupled with the tertiary importance according to Bruen, I will not dive into a

             comprehensive look at all repeaters developed into the modem era.

                     48.      This report has looked at two timeframes relevant to this case as it pertains to

            Bruen. It has provided a snapshot account of several repeaters and magazine-fed repeaters of

             capacities over ten rounds throughout history. It has also examined corresponding laws from

            those time periods rebutting similarities to twentieth and twenty-first century legislation on

            capacity. It has stated that innumerable magazine-fed repeaters have been developed since

            the 1600s. At the time of the Founding Era repeaters and magazine-fed firearms , with a

            capacity over ten rounds had been in existence for over a century. To my knowledge, there

            are no laws during this period that restrict access to firearms magazines or strict firing

            capacity. By the time of the Second Founding Era, there were exponentially more repeaters

            and magazine-fed firearms with capacities greater than ten. According to scholarship outside

            of this particular declaration, the first laws referencing capacity, primarily for machine guns,



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             only date to the 1920s, and all except one implemented during this period were repealed.

            Laws regulating detachable magazines date to the last decade of the twentieth century, and

            the ten round magazine limit was imposed through federal law for the first time in 1994,

             making the relevant conversation in this case much more recent history rather than the

            historical precedent Bruen requires.

            I declare under penalty of perjury that the foregoing is true and correct. Executed within the
                                              29
            United States on December               , 2022.


                                                                ~
                                                               Ashley Hlebinsky
                                                               Declarant




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                                 CURRICULUM VITAE
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Education:

Master of Arts, American History, University of Delaware, 2013

Bachelor of Arts, American History, University of Delaware, 2011

Selected Professional Experience:

Co-Founder and Senior Fellow, University of Wyoming College of Law's Firearms Research
Center, Laramie, WY, 2020 (Current)

Consulting Director, Craig Boddington Wildlife and Firearms Museum, Independence, KS, 2022
(Current)

Consulting Curator, LA Police Museum, Pasadena, 2021 (Current)
Senior Consulting Specialist. Cowan's Auctions, Cincinnati, OH, 2021 (Current)
Consultant, National Museum of Law Enforcement and Organized Crime (Mob Museum), Las
Vegas, NV, 2016 (Current)

Guest Curator, C.M. Russell Museums and Complex, Great Falls, MT 2021 (Current)

Adjunct Scholar of Firearms History, Technology & Culture, Firearms Policy Coalition, 2020-
2021

Curator Emerita & Senior Firearms Scholar, Cody Firearms Museum, Buffalo Bill Center of the
West, 2020-2021.

Robert W. Woodruff Curator, Cody Firearms Museum, Buffalo Bill Center of the West, Cody,
WY, 2015-2020

Project Director, Cody Firearms Museum Renovation, Buffalo Bill Center of the West, Cody,
WY, 2015-2019

Consulting Curator, Houston Museum of Natural Sciences, 2018

Consultant. Adirondack Experience. November 2019

Consultant. Winchester Mystery House, August 2019.




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Consulting Scholar. National Park Service & Organization of American Historians, March 2019.

Consultant/Curator. Daniel Defense, Black Creek, Georgia. 2017

Associate & Acting Curator, Cody Firearms Museum, Buffalo Bill Center of the West, Cody,
WY, 2015

Guest Curator. C.M . Russell Museums and Complex, 2015-2016

Guest Curator. Cody Firearms Experience, 2015

Assistant Curator, Cody Firearms Museum, Buffalo Bill Center of the West, Cody, WY, 2013-
2014

Teaching Assistant, The Jewish Holocaust: 1933-1945, University of Delaware, 2013
Teaching Assistant, Introduction to Military History, University of Delaware, 2012

Teaching Assistant, History Education, University of Delaware, 2011

Researcher/Fellow, National Museum of American History, Smithsonian Institution, 2010-2013

Archival Assistant, University of Delaware Special Collection, 2010-2011

Firearm Intern, Soldiers and Sailors National Memorial Hall , 2008


Expert Witness Testimony:

Virginia Duncan et al v Rob Banta, November 2022

Ocean State Tactical et al v Rhode Island , October 2022
Senate Judiciary Subcommittee on the Constitution, Stop Gun Violence: Ghost Guns, May 2021

Franklin Armory et al v Banta, February 2021

FN Herstal v Sturm, Ruger & Co, January 2021

Sturm, Ruger & Co. v American Outdoor Brands Corp., October 2020

Guedes v BATFE, June 2019

Miller v Becerra (Banta), November 2019

       1. Evidentiary Hearing Testimony October 2020




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       2. Deposition January 2021

Regina (Nova Scotia) v Clayton, January 2019

Garrison v Sturm, Ruger & Company, Inc. 2018

       1. Deposition November 2018

Recent Honors/Awards:

Second Amendment Foundation's Defender of the Constitution, 2022

National Shooting Sports Foundation and Women ' s Outdoor Media Association's
Top Five Finalist, Top Woman of the Gun Industry, 2022

National Shooting Sports Foundation's SHOT Business 's Top 40 under 40, 2020

              Wyoming Business Report's Top 40 Under 40, 2017

National Shooting Sports Foundation & Professional Outdoor Media Association's Shooting
Sports Communicator of the Year Award, 2017

              Wyoming's Non-Profit Woman of the Year Nominee, 2017

Selected Media Work:

Writer/Producer. Mountain Men: Ultimate Marksman. History Channel, May 2022 (Current)
Regular Contributor. Our American Stories Podcast, 2022 (Current)
Co-Host. History Unloaded Podcast. Various platforms with Wyoming Public Media, 2018-
2022, 6 seasons (Current)

Producer & On Camera Expert. Gun Stories with Joe Mantegna, Outdoor Channel, 2015-2022, 8
seasons (Current)

Producer & On Camera Expert. Man vs History, History Channel & Matador Productions, 2020
(aired 2021)

Co-Host. Master ofArms, Discovery Channel & Matador Productions, 2018. 1 season

Consulting Producer. Brothers in Arms. History Channel, 2018. 1 season.

On Camera Expert. Rob Riggle: Global Investigator. Discovery Channel, 2020.

Recurring Expert. Mysteries at the Museum. Travel Channel. 2017-2019

Casting Consultant. Gun Shop Project, Vice Media & Cineflix Productions, 2020




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On Camera Expert. American Genius Colt V Wesson. National Geographic. 2015

Also appears on: Public Broadcasting Service, National Public Radio, Travel Channel, National
Geographic, Popculture.com, Media, Entertainment, Arts, Worldwide (MEAWW), Women's
Outdoor News, Outdoor Life, Shooting USA, Gun Talk Media, National Shooting Sports
Foundation, various firearms related podcasts .

Has been profiled by: The Bourbon Review, Recoil Magazine, Outdoor Life Magazine,
Guns.com, Blue Press Magazine, and others


Selected Lectures/Panels:

Guest Speaker. Gun Rights Policy Conference, October 2022

Guest Speaker. Second Amendment Foundation Legal Scholars Forum, September 2022

Guest Lecturer and Panelist. AmmCon. Second Amendment Foundation, October 2021

Guest Lecturer. Armed for Revolution. Royal Armouries, September 2021

Guest Speaker. Preserving Firearms Heritage. Gun Rights Policy Coalition , 2020

Guest Lecturer. Art of Collecting. Nevada Museum of Art. January 2020

Panelist. Firearms and Museums in the 2I51 Century. National Council for Public History. March
2019.

Scholars Roundtable. Coltvsille National Historic Site. Organization of American Historians &
National Park Service, March 2019 .

Forum Speaker. The Art of the Hunt: Embellished Sporting Arms in America. New Orleans
Antique Forum, August 2018

Guest Lecturer. Unloading the Gun: Firearms, History, and Museums. Yakima Valley Museum,
June 2018

Guest Lecturer. Perpetrators and Protectors: The Mob, The Law and Firearms, National Museum
of Law Enforcement and Organized Crime (Mob Museum), September 2017

Organizer. Arsenals of History: Firearms and Museums in the 2I51 Century, Buffalo Bill Center
of the West, July 2017

Lecturer. The Cody Firearms Museum, Arsenals of History Symposium, Buffalo Bill Center of
the West, July 2017




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Moderator. Addressing the Press: Firearms and the Media, Arsenals of History Symposium,
Buffalo Bill Center of the West, July 2017

Moderator. Forming an Association: Legitimizing Firearms in Academic Study, Arsenals of
History Symposium, Buffalo Bill Center of the West, July 2017

Guest Lecturer. Displaying the "Politically Tncorrect," C.M. Russell Museums and Complex,
May 2017

Guest Lecturer. Displaying the "Politically Incorrect," Blackhawk Museum, March 2017

Panelist. Curator Roundtable, Firearms and Common Law Symposium, Aspen Institute,
September 2016

Guest Lecturer. Displaying the "Po litically Incorrect," Canadian Guild of Antique Arms
Historians, April 2016

Guest Lecturer. The Cody Firearms Museum Renovation, American Society of Arms Collectors,
September 2016

Guest Lecturer. From Protector to Perpetrator: Demystifying Firearms in History, Art Institute of
Chicago, November 2015

Guest Lecturer. Winchester ' 73: The Illusion of Movie Making, Winchester Arms Collectors
Association, July 2014

Guest Lecturer. Unloading the Six Shooter: Disassembling the Glamorization and Demonization
of Firearms in the Arts, Buffalo Bill Center of the West, 2011


Selected Firearms Exhibitions:

Curator/Project Director. Cody Firearms Museum Renovation. Buffalo Bill Center of the West.
2019

Co-Curator. The Art of the Hunt: Embellished Sporting Arms from 15 00-1800. Houston Museum
of Natural Sciences. March 2019

Curator. Glock Makes History: The Birth of the Polymer Handgun Market. Buffalo Bill Center of
the West. June 2016

Guest Curator. Designing the American West: The Artist and the Inventor. C.M. Russell Museum
& Complex. February 2016

Curator. The Greatest Gun Designer in History: John Moses Browning. Buffalo Bill Center of




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the West. December 2015

Curator. Journeying West: Distinctive Firearms from the Smithsonian Institution. Buffalo Bill
Center of the West. December 2015

Curator. The Forgotten Winchester: Great Basin National Park. Buffalo Bill Center of the West.
June2015

Curator. Western Firearms Gallery, including Shoot for the Stars: The Tradition of Cowboy
Action Shooting. Buffalo Bill Center of the West. April 2015.
Curator. Steel Sculptures: Engraving Individuality from Mass Production. Buffalo Bill Center of
the West. Winter 2014.


Certifications:

Certified Firearms Instructor, Basic Pistol, 2016

Certified Firearms Instructor, Personal Protection Inside the Home, 2016

Well-Armed Woman Instructor Certification, 2016

Museum Studies Certification, University of Delaware, 2013


Grants:

National Endowment for the Humanities, 2017

Institute of Museum and Library Services, 2017

Gretchen Swanson Family Foundation, 2015, 2016, 2017, 2018, 2019, 2020

Kinnucan Arms Chair Grant, 2012


Fellowships:

Firearms Curatorial Resident, Buffalo Bill Center of the West, 2013

Edward Ezell Fellowship, University of Delaware, 2012

Buffalo Bill Resident Fellowship, Buffalo Bill Center of the West, 2011


Committees and Memberships:




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Board Member - Walk the Talk America

Founding President - Association of Firearms History and Museums
      •   Academic association for the study of firearms history in United States

Founder - Arsenals of History Symposia Series
      •    First international symposia series on the academic study of firearms

Spokesperson -NSSF/AFSP Suicide Prevention and Project ChildSafe Programs
American Alliance of Museums - Member

American Society of Arms Collectors - Member

Winchester Arms Collectors Association - Honorary

Remington Society of Arms Collectors - Member

Weatherby Collector's Association - Life Member


Publication History

Ed itorial Board - Armax Journal

Selected Articles:

Author. "Guns and Mental Health." Recoil Magazine, Upcoming

Author. "Co lt Single Actions and Safety." Armax Journal, October 2021

Author. "Guns and Partisan Politics." Recoil Magazine, Jan uary 2021

Author. "Feminism & Firearms." Recoil Magazine , Summer 2020

Author. "B urton Light Machine Rifle." Recoil Magazine . October, 2019

Founder/Editor/Author. Arsenals of History Journal , Annual Publication, 2018 - Present

Author. "It's Complicated: The Shoti Answer to F irearms, Museums and History. Journal of the
Early Republic - The Panorama, September 2018.

Contributor. "Firearms Curator Roundtable" Technology & Culture Journal, August 2018

Author. "Displaying the 'Politically Incorrect. "' CLOG X Guns: Chicago, IL, September 2017
Author. "Does History Repeat Itself? The Smith & Wesson LadySmith." CLOG XGuns:




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Chicago, IL, September 2017

Author. "Renovating the Cody Firearms Museum." International Committee of Museums and
Collections ofArms and Military History Magazine. Issue 17, May 2017. Pg. 38 - 41

Author. "Renovating the Cody Firearms Museum." American Society ofArms Collectors
Journal. Fall 2016.

Author. "Glock Exhibit Opening." Glock Magazine. Bang Media. Annual 2017

Author. "The 28 Most Notable Guns from Remington's 200-Year History." Outdoor Life
Magazine. Bonnier Corporation, 2016

Author. "Cassie Waters: Businesswoman of the Old West." Guns of the Old West. Harris
Publications, Spring 2016

Author. "Making History: GLOCK Pistols at the Cody Firearms Museum" Glock Magazine.
Harris Publications. Annual 2016

Author. "Pocket Pistols: 10 Seminal Guns from the Past 300 Years." Pocket Pistols. Harris
Publications. 2016

Author. "The Gun that Won the Western and the Unforeseen Stars of Winchester '73" Guns of
the Old West. Harris Publications.

Author. "Frontier Profile: Jedediah Strong Smith" American Frontiersman. Harris Publications

Author. "Frontier Legend John Johnston." American Frontiersman. Harris Publications

Author. "The Guns of John Johnston." American Frontiersman. Harris Publications

Author. "Annie Oakley VS Lillian Smith: A Female Sharpshooter Rivarly." Guns of the Old
West. Harris Publications, Spring 2015

Author. "Icons and Has-beens." American Handgunner. FMG Publications, 2014

Author. "Triggering Memory: American Identity in Cowboys and Aliens." Points West. Spring
2012

Author. "Unloading the Six-Shooter: Disassembling the Glamorization and Demonization of
Firearms in the Arts." Points West, Fall 201 I.

Columns:

Author. Old School Series. Recoil Magazine




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Author. Flashback. Concealment Magazine

Author/Brand Ambassador. The Bourbon Review.

Author. American Association for State and Local History. Summer 2019

Author. "Weird West: Fact or Fiction" Guns of the Old West. Athlon Outdoors (formerly Harris
Publications)

1st Assault Rifle

Colt VS Winchester Revolver

Did Winchester Really Win the West?

Oliver Winchester's Lever Action Shotgun

Remington Cane Gun

Author. "Cowboy Action Round Up." SHOT Show New Products. Guns of the Old West. Athlon
Outdoors (formerly Harris Publications). 2015, 2016, 2017

Reviews:

Reviewer: Edited by Jonathan Obert, Andrew Poe, and Austin Sarat. Oxford: Oxford
UniversityPress, 2018. Journal of Technology & Culture, Fall 2019

Author. "Everybody Loves an Outlaw: Taylor's Outlaw Legacy Revolver Series." Guns of the
Old West. Harris Publications

Reviewer: Richard Rattenbury. A Legacy in Arms: American Firearms Manufacture, Design and
Artistry, 1800-1900. Chronicle of Oklahoma, Spring 2016

Selected Biogs & Vlogs:

Recoil Magazine

Weekly video series beginning October 2017 to Present

Dillon Precision
                     Historical Videos on Ammunition (Upcoming)

Outdoor Life
               Top 10 Guns in American History
               Guns of the Old West: 10 Iconic Firearms and the Legendary Men (and Women)




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Who Shot Them
               13 of the Biggest Gun Fails in Recent Firearms History
               Gun of the Week:
               John Martz Luger
               Apache Revolver
               German Frei Pistol
               King Louis XV Embellished Blunderbuss
               Arm al ite AR-1 7 Shotgun
               Getting the Christmas Goose with a Goose Rifle & Cutaway Suppressor
               Mossberg Brownie
               Wesson & Leavitt Belt Revolver
               William Harnett and the Faithful Colt 1890
               Winchester Model 1894 Lever Action Rifle
               Ruger Semi-Automatic Pistol , 1 of 5,000
               Herb Parson ' s Winchester Model 71 Lever Action Rifle
               Lincoln Head Hammer Gun
               American Trap Gun
               Browning Brother's Single Shot Rifle Patent
               Feltman Pneumatic Machine Gun
               U.S. Springfield-Allin Conversion Model 1866 Trapdoor Rifle
               Winchester Wetmore-Wood Revolver
               Webley-Fosbery Automatic Revolver
               Hopkins & Allen XL3 Double Action Revolver
               DuBiel Modern Classic Rifle
               Colt Model 1877 "Thunderer" Double Action Revolver
               Tom Tobin' s Colt Model 1878 Frontier Revolver
               Walch IO-Shot Double Hammers Pocket Revolver
               Winchester Model 1887, Serial No. 1
               Deringer vs Derringer
               The Forgotten Winchester 1873 of Great Basin National Park
Range 365
To the One Who Got Away
Gun Review: New Glock 19 Gen 5
Ain't She a Pistol? 10 Historic Gun Ads Featuring Women
National Shooting Sports Foundation
The Gun Vault:
Winchester 1873 Found in Great Basin National Park
Col. Jef(Cooper's Colt MK IV Series 80
500+ Year Old Firearms, Matchlocks, Flintlocks
U.S. Presidents Guns
Cross Dominance Shotgun
Herb Parson's Winchester Model 71 Rifle
Audie Murphy's Colt Bisley Revolver
4 Gauge Winchester Wildfowler
Pocket Pistols
Henry Ford's Winchester Model 1887 Lever Action Shotgun




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Tom Knapp's First Gun
Buffalo Bill Cody's Winchester 1873
Colt Model 1861 Navy Serial No. 1
Cassie Waters' Hopkins & Allen XL3 Revolver
Glock 17

The Truth About Guns
        Presidential Presentation Rifles
        Factory Cut-Away M16Al
        1854 Smith & Wesson Repeating Rifle (Serial Number 8)
        Winchester World ' s Fair Model 1866 Deluxe Sporting Rifle
        Raymond Wielgus Collection
        Gastinne-Renette Muzzleloading Percussion Target Pistols
        Oliver Winchester's Jennings Repeater
        Henry Ford ' s Winchester Model 1887
        Winchester Model 1866 Musket in .44 Rimfire
        English Wheellock
        Southern Belle American Longrifle
        Annie Oakley ' s Model 1892 Smoothbore Rifle
        Catherine the Great of Russia' s Blunderbuss Gift to King Louis XV of France
        Color Case-Hardened GLOCK 43: Merging the Old West with the New
        Buffalo Bill Center of the West - Unloading the Myth
        The Cody Firearms Museum - Yesterday, Today, and Tomorrow
        Guns of the Week - Christmas List
        Guns of the Week: December 15-19
        Guns of the Week - The Cody Firearms Museum
        Guns of the Week - German Firearms
        Guns of the Week - Scheutzenfest
        Guns of the Week - Air Guns
        Guns of the Week- Early Firearms Law
        Guns of the Week - October 13-17
        Guns of the Week - Ingenious Engineering
        Guns of the Week - Remington - Smoot
        Guns of the Week - September 22-26; 15-19; 8-12
      ' CSI: Firearms Museum Edition
        Confessions of a Gun Historian
        Art Guns: Aesthetics Over Function?
        What Good ' s a Gun Without a Firing Pin?
        Gun Installations, Trials & Tribulations
        A True Test of Marital Trust and Love
        Remembering Tom Knapp
        Cody Firearms Museum Goes Hollywood
        When Will My Firearms Go On Display
        What's Your Cody Firearms Museum
        To Vlog or Not to Vlog
        We Don't Just Have Old Guns in Our Museum: SHOT Show 2014




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              Taking a Staba at Displaying More Guns
              "Hi Yo Silver" Cook Away! Lone Ranger Display
              The Shooting Wire
              Winchester's 150th Anniversary Website
              Remington's 200th Anniversary Website




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